Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-5
                                307-1 Filed
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               EXHIBIT
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Chang, Esther Kim

From:                           Gonzalez, Arturo J.
Sent:                           Sunday, April 16, 2017 5:05 PM
To:                             QE-Waymo
Cc:                             Waymo Internal - Attorneys
Subject:                        Spider


Quinn Team,

As I think you know, there was never a completed Spider. However, if you want to inspect some of the Spider
components, we can make them available in our SF office Tuesday morning. Let me know if you want to see them. Same
ground rules.

Arturo

Sent from my iPhone




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